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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

   UNITED STATES OF AMERICA,

       v.
                                                       Criminal Action No. ELH-18-072
   HEALIN BROWN,
     Defendant.

                                MEMORANDUM OPINION

       Healin Brown filed a pro se “Emergency Motion for Reduction of Sentence Pursuant to

Section 603 of the First Step Act of 2018 and 18 U.S.C. § 3582(c)(1)(A), and/or Home

Confinement Pursuant to the CARES Act of 2020.” ECF 198. Thereafter, through counsel,

Brown filed an “Emergency Motion For Compassionate Release Pursuant To 18 U.S.C. §

3582(c)(1)(A)(i).” ECF 208. The motion is supported by a memorandum of law (ECF 210)

(collectively, the “Motion”) and three exhibits. ECF 210-1 to ECF 210-3. The government

opposes the Motion (ECF 214) and submitted one exhibit. ECF 214-1. Defendant has replied.

ECF 217.

       No hearing is necessary to resolve the Motion. For the reasons that follow, I shall deny

the Motion.

                                      I.   Background

       On February 7, 2018, a federal grand jury in the District of Maryland returned an

indictment charging Brown and three codefendants with crimes relating to the operation of a

drug trafficking organization in northwest Baltimore between May 2017 and February 2018.

ECF 1. In particular, Brown was charged with conspiracy to distribute and possess with intent to

distribute one kilogram or more of a substance containing a detectable amount of heroin, in

violation of 21 U.S.C. §§ 841, 846 and 18 U.S.C. § 2. Id.
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        Pursuant to a Plea Agreement (ECF 86), Brown entered a plea of guilty to the single

count on December 17, 2018. ECF 85. The plea was tendered pursuant to Fed. R. Crim. P.

11(c)(1)(C), by which the parties agreed to a term of imprisonment of 120 months. ECF 86, ¶

11.    That corresponded to the congressionally mandated minimum term of ten years’

imprisonment. See id. ¶ 3; see also 21 U.S.C. § 841(b)(1)(A).

        The Plea Agreement included a stipulation of facts. See id. at 4-5. According to the

stipulation, law enforcement observed the defendant supervising an “open air shop selling retail

heroin” in Baltimore and “supplying bags…of heroin to street distributers.”            Id.   Law

enforcement also sent undercover agents to make purchases from defendant on multiple

occasions. Id. And, “on numerous occasions, the Defendant expressed a capacity to satisfy

orders of kilograms’ worth of heroin.” Id. at 5. Following the defendant’s arrest, he “admitted to

obtaining substantial quantities of heroin for many months which he supplied to street level

dealers for retail distribution.” Id.

        Pursuant to the United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”), the

parties agreed to the application of enhancements for maintaining a premise for the purpose of

manufacturing or distributing the controlled substances and for the defendant’s leadership role,

as well as deductions for acceptance of responsibility. Id. ¶ 7. On this basis, the parties

contemplated a final offense level of 33. Id. However, the parties also agreed that the defendant

qualified as a Career Offender, pursuant to U.S.S.G. § 4B1.1, because this was the defendant’s

third conviction for a felony controlled substance offense. Id. ¶ 9. As a result, the defendant




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actually had a final offense level of 34. See ECF 103 (“Presentence Report” or “PSR”), ¶¶ 22,

25. 1

        As a Career Offender, defendant’s Criminal History Category was VI. Id. ¶ 40. If he

were not a Career Offender, however, Brown would have had a Criminal History Category of V.

See id. ¶¶ 38, 39.

        Based on an offense level of 34 and a Criminal History Category of VI, Brown’s

Guidelines called for a period of incarceration ranging from 262 to 327 months of imprisonment.

Id. ¶ 94.      As noted, he was also subject to a mandatory minimum term of ten years’

imprisonment under 21 U.S.C. § 841(b)(1)(A). Id. ¶ 93.

        Sentencing was held about 19 months ago, on April 25, 2019. ECF 132. At the time, the

defendant was 56 years old. ECF 103 at 2. Defendant, who has a high school diploma, had not

been employed since 2000. Id. ¶¶ 87, 89. And, he began abusing marijuana at 19 years of age.

Id. ¶ 84. Notably, the defendant reported that he has diabetes, but otherwise indicated that he

had no health issues. Id. ¶ 78.

        Pursuant to the Plea Agreement, the Court imposed a term of 120 months of

imprisonment, with credit from the date of arrest on February 8, 2018. ECF 144 (Judgment);

ECF 145 (Statement of Reasons).       Thus, Brown’s sentence was well below the advisory

sentencing Guidelines range of 262 to 327 months’ incarceration.

        Brown, who was born in 1962, is now 57 years of age. He is presently incarcerated at

FCI Fort Dix. ECF 210-2 (Summary Reentry Plan). Brown has served about 33 months of his




        1
         As a Career Offender, the defendant had an offense level of 37, before deductions for
acceptance of responsibility. Id. ¶ 22. After deductions for acceptance of responsibility,
pursuant to U.S.S.G. § 3E1.1, Brown’s final offense level was 34. Id. ¶ 25.

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sentence. This equates to about 28% of the sentence, exclusive of good time credits under 18

U.S.C. § 3624(b). Defendant has a projected release date of August 2, 2026. ECF 210-2 at 1.

       Defendant’s medical history includes Type 2 diabetes, for which he is prescribed

medication, and hypertension. ECF 210 at 6; ECF 103, ¶ 78. He was also shot during a robbery

in 1995. ECF 103, ¶ 78. 2

       Brown filed a request for reduction in sentence with the Warden on April 27, 2020. ECF

210 at 2; see ECF 214-1. The request was denied on May 4, 2020, and Brown filed an

administrative appeal. See ECF 210-3. He has not received a response. The government does

not dispute that Brown has exhausted his administrative remedies. ECF 214 at 3.

       Additional facts are included, infra.

                                  II.   Standard of Review

       Ordinarily, a court “may not modify a term of imprisonment once it has been imposed.”

18 U.S.C. § 3582(c); see United States v. Chambers, 956 F.3d 667, 671 (4th Cir. 2020); United

States v. Jackson, 952 F.3d 492, 495 (4th Cir. 2020); United States v. Martin, 916 F.3d 389, 395

(4th Cir. 2019). But, “the rule of finality is subject to a few narrow exceptions.” Freeman v.

United States, 564 U.S. 522, 526 (2011). One such exception is when the modification is

“expressly permitted by statute.” 18 U.S.C. § 3582(c)(1)(B); see Jackson, 952 F.3d at 495.

       Commonly termed the “compassionate release” provision, 18 U.S.C. § 3582(c)(1)(A)(i)

provides a statutory vehicle to modify a defendant’s sentence. Section 3582 was adopted as part

of the Sentencing Reform Act of 1984. It originally permitted a court to alter a sentence only

upon a motion by the Director of the BOP. See Pub. L. No. 98-473, § 224(a), 98 Stat. 2030

(1984). Thus, a defendant seeking compassionate release had to rely on the BOP Director for


       2
        Defendant does not provide any additional details on this incident, nor does he discuss
any ongoing health issues as a result of the gunshot. See ECF 103; ECF 210.
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relief. See, e.g., Orlansky v. FCI Miami Warden, 754 F. App’x 862, 866-67 (11th Cir. 2018);

Jarvis v. Stansberry, No. 2:08CV230, 2008 WL 5337908, at *1 (E.D. Va. Dec. 18, 2008)

(denying compassionate release motion because § 3582 “vests absolute discretion” in the BOP).

       However, for many years the safety valve of § 3582 languished. BOP rarely filed

motions on an inmate’s behalf. As a result, compassionate release was exceedingly rare. See

Hearing on Compassionate Release and the Conditions of Supervision Before the U.S.

Sentencing Comm’n 66 (2016) (statement of Michael E. Horowitz, Inspector General, Dep’t of

Justice) (observing that, on average, only 24 inmates were granted compassionate release per

year between 1984 and 2013).

       In December 2018, Congress significantly amended the compassionate release

mechanism when it enacted the First Step Act of 2018 (“FSA”). See Pub. L. 115-391, 132 Stat.

5239 (2018). As amended by the FSA, 18 U.S.C. § 3582(c)(1)(A) permits a court to reduce a

defendant’s term of imprisonment “upon motion of the Director of [BOP], or upon motion of the

defendant after the defendant has fully exhausted all administrative rights to appeal a failure of

the [BOP] to bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of

such a request by the warden of the defendant’s facility,” whichever occurs first. So, once a

defendant has exhausted his administrative remedies, he may petition a court directly for

compassionate release.

       Under § 3582(c)(1)(A), the court may modify the defendant’s sentence if, “after

considering the factors set forth in section 3553(a) to the extent that they are applicable,” it finds

that

       (i) extraordinary and compelling reasons warrant such a reduction;

       (ii) the defendant is at least 70 years of age, has served at least 30 years in prison,
       pursuant to a sentence imposed under section 3559(c), for the offense or offenses

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       for which the defendant is currently imprisoned, and a determination has been
       made by the Director of the Bureau of Prisons that the defendant is not a danger to
       the safety of any other person or the community, as provided under section
       3142(g);

       and that such a reduction is consistent with applicable policy statements issued by
       the Sentencing Commission . . . .

       Accordingly, in order to be entitled to relief under 18 U.S.C. § 3582(c)(1)(A)(i), the

defendant must demonstrate that (1) “extraordinary and compelling reasons” warrant a reduction

of his sentence; (2) the factors set forth in 18 U.S.C. § 3553(a) countenance a reduction; and (3)

the sentence modification is “consistent” with the policy statement issued by the Sentencing

Commission in U.S.S.G. § 1B1.13.

       “When deciding whether to reduce a defendant’s sentence under § 3582(c)(1)(A), a

district court may grant a reduction only if it is ‘consistent with applicable policy statements

issued by the Sentencing Commission.’” United States v. Taylor, 820 F. App’x 229, 230 (4th

Cir. 2020) (per curiam) (citing 18 U.S.C. § 3582(c)(1)(A)); see also 28 U.S.C. § 994(t) (directing

Sentencing Commission to “describe what should be extraordinary and compelling reasons for

sentence reduction”).

       U.S.S.G. § 1B1.13 is titled “Reduction in Term of Imprisonment under 18 U.S.C.

§ 3582(c)(1)(A) Policy Statement.” U.S.S.G. § 1B1.13(1)(A) provides for a sentence reduction

based on “extraordinary and compelling reasons,” and § 1B1.13(1)(B) provides for a reduction

based on age, in combination with other requirements. U . S . S . G . § 1B1.13(2) establishes as a

relevant factor that “the defendant is not a danger to the safety of any other person or to the

community, as provided in 18 U.S.C. § 3142(g).”

       The Application Notes permit compassionate release based on circumstances involving

illness, declining health, age, exceptional family circumstances, as well as “other reasons.”



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Application Note 1 to U.S.S.G. § 1B1.13 defines “Extraordinary and Compelling Reasons” in

part as follows (emphasis added):

        1. Extraordinary and Compelling Reasons.—Provided the defendant
        meets the requirements of subdivision (2), extraordinary and compelling
        reasons exist under any of the circumstances set forth below:

         (A) Medical Condition of the Defendant.—

             (i) The defendant is suffering from a terminal illness (i.e., a serious and
             advanced illness with an end of life trajectory). A specific prognosis of life
             expectancy (i.e., a probability of death within a specific time period) is not
             required. Examples include metastatic solid-tumor cancer, amyotrophic
             lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

             (ii) The defendant is—

                  (I) suffering from a serious physical or medical condition,

                (II) suffering from a serious functional or cognitive impairment, or

                (III) experiencing deteriorating physical or mental health because of
                the aging process,

           that substantially diminishes the ability of the defendant to provide self-care
           within the environment of a correctional facility and from which he or she is
           not expected to recover.

       Application Note 1(B) provides that age is an extraordinary and compelling reason where

the defendant is at least 65 years of age, has serious physical or mental health issues, and has

served at least 10 years in prison or 75% of the sentence. Application Note 1(C) concerns

Family Circumstances. Application Note 1(D) is titled “Other Reasons.” It permits the

court to reduce a sentence where, “[a]s determined by the Director of the Bureau of Prisons,

there exists in the defendant’s case an extraordinary and compelling reason other than, or in

combination with, the reasons described in subdivisions (A) through (C).” U.S.S.G. § 1B1.13

App. Note 1(D).

       The BOP regulation appears at Program Statement 5050.50, Compassionate

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Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§ 2582 and

4205. The Court may not rely on the Program Statement, however. Rather, the Court must

consider the Sentencing Commission’s policy statements. Taylor, 820 F. App’x at 230.

       The defendant, as the movant, bears the burden of establishing that he is entitled to a

sentence reduction under 18 U.S.C. § 3582. See, e.g., United States v. Hamilton, 715 F.3d 328,

337 (11th Cir. 2013); United States v. Edwards, NKM-17-00003, 2020 WL 1650406, at *3

(W.D. Va. Apr. 2, 2020). If the defendant can show an extraordinary and compelling reason

that renders him eligible for a sentence reduction, the Court must then consider the factors

under 18 U.S.C. § 3553(a) to determine whether, in its discretion, a reduction of sentence is

appropriate. Dillon, 560 U.S. at 827. But, compassionate release is a “rare” remedy. United

States v. Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020); United States v. Mangarella, FDW-

06-151, 2020 WL 1291835, at *2-3 (W.D. N.C. Mar. 16, 2020); White v. United States, 378 F.

Supp. 3d 784, 787 (W.D. Mo. 2019).

                                      III.    COVID-19 3

       Defendant filed his Motion while the nation is “in the grip of a public health crisis more

severe than any seen for a hundred years.” Antietam Battlefield KOA v. Hogan, CCB-20-1130,

461 F. Supp. 3d 214, 223 (D. Md. 2020). That crisis is COVID-19. 4             The World Health

Organization declared COVID-19 a global pandemic on March 11, 2020.                   See Seth v.

McDonough, PX-20-1028, 2020 WL 2571168, at *1 (D. Md. May 21, 2020).


       3
           The Court may take judicial notice of matters of public record. See Fed. R. Evid. 201.
       4
         Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2) is the cause of
coronavirus disease 2019, commonly called COVID-19. See Naming the Coronavirus Disease
and the Virus that Causes It, WORLD HEALTH ORG., https://bit.ly/2UMC6uW (last accessed June
15, 2020).



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       The judges of this Court “have written extensively about the pandemic.” United States v.

Williams, PWG-19-134, 2020 WL 3073320, at *1 (D. Md. June 10, 2020) (collecting cases).

Therefore, it is not necessary to recount in detail the “unprecedented nature and impact” of the

pandemic. Id.

       That said, the Court must underscore that the virus is highly contagious. See Coronavirus

Disease 2019 (COVID-19), How COVID-19 Spreads, CTRS. FOR DISEASE CONTROL &

PREVENTION (Apr. 2, 2020), https://bit.ly/2XoiDDh. Moreover, although many people who are

stricken with the virus experience only mild or moderate symptoms, the virus can cause severe

medical problems as well as death, especially for those in “high-risk categories . . . .” Antietam

Battlefield KOA, 2020 WL 2556496, at *1 (citation omitted). As of November 9, 2020, COVID-

19 has infected more than 9.9 million Americans and caused over 237,000 deaths in this country.

See COVID-19 Dashboard, THE JOHNS HOPKINS UNIV., https://bit.ly/2WD4XU9 (last accessed

Nov. 9, 2020).

       The COVID-19 pandemic is the worst public health crisis that the world has experienced

since 1918. See United States v. Hernandez, 451 F. Supp. 3d 301, 305 (S.D.N.Y. 2020) (“The

COVID-19 pandemic . . . . presents a clear and present danger to free society for reasons that

need no elaboration.”).       The pandemic “has produced unparalleled and exceptional

circumstances affecting every aspect of life as we have known it.” Cameron v. Bouchard, LVP-

20-10949, 2020 WL 2569868, at *1 (E.D. Mich. May 21, 2020), stayed, 818 Fed. App’x 393

(6th Cir. 2020). Indeed, for a significant period of time, life as we have known it came to a halt.

Although many businesses and schools have reopened, many are subject to substantial

restrictions. And, in view of the recent resurgence of the virus, businesses and schools are again

facing restrictions or closure.



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       Unfortunately, there is currently no vaccine, cure, or proven treatment that is available,

although we are all hopeful that a vaccine is on the horizon. Moreover, according to the Centers

for Disease Control and Prevention (“CDC”), certain risk factors increase the chance of severe

illness. Those risk factors initially included age (over 65); lung disease; asthma; chronic kidney

disease; serious heart disease; obesity; diabetes; liver disease; and a compromised immune

system. See Coronavirus Disease 2019 (COVID-19), People Who Are at Risk for Severe Illness,

CTRS. FOR DISEASE CONTROL & PREVENTION (May 14, 2020), https://bit.ly/2WBcB16.

       On June 25, 2020 and July 17, 2020, the CDC revised its guidance as to medical

conditions that pose a greater risk of severe illness due to COVID-19. Then, on November 2,

2020, to reflect the most recently available data, the CDC again revised its guidance. See People

of Any Age with Underlying Medical Conditions, CTRS. FOR DISEASE CONTROL & PREVENTION

(Nov. 2, 2020), https://bit.ly/38S4NfY. According to the CDC, the factors that increase the risk

include cancer; chronic kidney disease; COPD; being immunocompromised; obesity, where the

body mass index (“BMI”) is 30 or higher; serious heart conditions, including heart failure and

coronary artery disease; sickle cell disease; smoking; pregnancy; and Type 2 diabetes.

       The CDC has also created a second category for conditions that “might” present a risk for

complications from COVID-19. The factors that might increase the risk include asthma,

cerebrovascular disease, hypertension, liver disease, cystic fibrosis, neurologic conditions, a

compromised immune system, overweight, pulmonary fibrosis, thalassemia (a type of blood

disorder), and Type 1 diabetes. See id.

       Thus far, the only way to slow the spread of the virus is to practice “social distancing.”

See Coronavirus Disease 2019 (COVID-19), How to Protect Yourself & Others, CTRS. FOR

DISEASE CONTROL & PREVENTION, https://bit.ly/3dPA8Ba (last accessed May 21, 2020). Social



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distancing is particularly difficult in the penal setting, however. Seth, 2020 WL 2571168, at *2.

Prisoners have little ability to isolate themselves from the threat posed by the coronavirus. Id.;

see Cameron, 2020 WL 2569868, at *1; see also United States v. Mel, TDC-18-0571, 2020 WL

2041674, at *3 (D. Md. Apr. 28, 2020) (“In light of the shared facilities, the difficulty of social

distancing, and challenges relating to maintaining sanitation, the risk of infection and the spread

of infection within prisons and detention facilities is particularly high.”). Prisoners are not

readily able to secure safety products on their own to protect themselves, such as masks and hand

sanitizers, nor are they necessarily able to separate themselves from others. Consequently,

correctional facilities are especially vulnerable to viral outbreaks and ill-suited to stem their

spread. See Coreas v. Bounds, TDC-20-0780, 2020 WL 1663133, at *2 (D. Md. Apr. 3, 2020)

(“Prisons, jails, and detention centers are especially vulnerable to outbreaks of COVID-19.”); see

also Letter of 3/25/20 to Governor Hogan from approximately 15 members of Johns Hopkins

faculty at the Bloomberg School of Public Health, School of Nursing, and School of Medicine

(explaining that the “close quarters of jails and prisons, the inability to employ effective social

distancing measures, and the many high-contact surfaces within facilities, make transmission of

COVID-19 more likely”); accord Brown v. Plata, 563 U.S. 493, 519-20 (2011) (referencing a

medical expert’s description of the overcrowded California prison system as “‘breeding grounds

for disease’”) (citation omitted).

       The Department of Justice (“DOJ”) has recognized the unique risks posed to inmates and

employees of the Bureau of Prisons (“BOP”) from COVID-19. The DOJ has adopted the

position that an inmate who presents with one of the risk factors identified by the CDC should be

considered as having an “extraordinary and compelling reason” warranting a sentence reduction.

See U.S.S.G. § 1B1.13 cmt. n.1(A)(ii)(I).



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        Attorney General William Barr issued a memorandum to Michael Carvajal, Director of

the BOP, on March 26, 2020, instructing him to prioritize the use of home confinement for

inmates at risk of complications from COVID-19. See Hallinan v. Scarantino, 20-HC-2088-FL,

2020 WL 3105094, at *8 (E.D. N.C. June 11, 2020). Then, on March 27, 2020, Congress passed

the Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”), Pub. L. No. 116-

136, 134 Stat. 281. In relevant part, the CARES Act authorized the Director of BOP to extend

the permissible length of home confinement, subject to a finding of an emergency by the

Attorney General. See Pub. L. No. 116-136, § 12003(b)(2). On April 3, 2020, the Attorney

General issued another memorandum to Carvajal, finding “the requisite emergency . . . .”

Hallinan, 2020 WL 3105094, at *9. Notably, the April 3 memorandum “had the effect of

expanding the [BOP’s] authority to grant home confinement to any inmate . . . .” Id.

        On March 23, 2020, the CDC issued guidance for the operation of penal institutions to

help prevent the spread of the virus. Seth, 2020 WL 2571168, at *2. Notably, the BOP has

implemented substantial measures to mitigate the risks to prisoners, to protect inmates from

COVID-19, and to treat those who are infected. See ECF 214 at 5-6 (detailing measures that

BOP has implemented at BOP facilities). Indeed, as the Third Circuit recognized in United

States v. Raia, 954 F.3d 594, 597 (3rd Cir. 2020), the BOP has made “extensive and professional

efforts to curtail the virus’s spread.”

        As with the country as a whole, however, the virus persists in penal institutions. 5 As of

November 9, 2020, the BOP had 125,421 federal inmates and 36,000 staff. Also as of November



        5
          The New York Times reported in June 2020 that cases of COVID-19 “have soared in
recent weeks” at jails and prisons across the country. Timothy Williams et al., Coronavirus
cases Rise Sharply in Prisons Even as They Plateau Nationwide, N.Y. TIMES (June 18, 2020),
https://nyti.ms/37JZgH2. More recently, on October 29, 2020, the New York Times reported that,
“[i]n American jails and prisons, more than 252,000 people have been infected and at least 1,450
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9, 2020, the BOP reported that 2,092 inmates and 899 BOP staff currently tested positive for

COVID-19; 16,610 inmates and 1,496 staff had recovered from the virus; and 134 inmates and

two staff member have died from the virus. And, the BOP has completed 72,547 COVID-19

tests. See https://www.bop.gov/coronavirus/ (last accessed Nov. 9, 2020). See COVID-19, FED.

BUREAU OF PRISONS, https://bit.ly/2XeiYH1.

         With respect to Fort Dix FCI, where the defendant is a prisoner, as of November 9, 2020,

the BOP reported that 228 inmates and 10 staff have currently tested positive for COVID-19 and

41 inmates and 6 staff have recovered at the facility. And, the facility has completed 1144 tests.

There are no reported deaths. See https://www.bop.gov/coronavirus/ (last accessed Nov. 9,

2020).

                                      IV.    Discussion

         Brown moves for compassionate release on the ground that his health conditions render

him particularly vulnerable to COVID-19. ECF 210 at 5-8. In particular, defendant avers that he

suffers from two conditions identified by the CDC as risk factors: Type 2 diabetes and

hypertension. Id. at 6; see ECF 210-1 (Medical Records) at 3, 23. Further, defendant contends

that he is not a danger to the community and that the factors under 18 U.S.C. § 3553(a) favor his

release. ECF 210 at 8-9.

         The government acknowledges that Brown’s Type 2 diabetes constitutes an

“extraordinary and compelling” reason for relief in light of the CDC guidance. ECF 214 at 8.

But, the government contends that compassionate release is still not warranted because


inmates and correctional officers have died” from COVID-19. See Cases in Jails and Prisons,
N.Y. TIMES (Oct. 29, 2020), https://www.nytimes.com/interactive/2020/us/coronavirus-us-
cases.html?name=styln-coronavisur&region=TOP_BANNER&block=storyline_menu_
recirc&action=click&pgtype=LegacyCollection&impression_id=78b44851-1885-11eb-baa7-
3f68d7b814c8&variant=1_Show.

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defendant’s “condition alone does not compel his release.” Id. at 9-10. And, in any event, the

government maintains that Brown would pose a danger if released prematurely, and it argues that

the § 3553(a) factors militate against reducing his sentence. Id. at 10-13.

          To be sure, the coronavirus is not “tantamount to a ‘get out of jail free’ card.” United

States v. Williams, PWG-13-544, 2020 WL 1434130, at *3 (D. Md. Mar. 24, 2020) (Day, M.J.).

However, numerous courts have found that, in light of the COVID-19 pandemic, serious chronic

medical conditions, including diabetes and hypertension, as well as age, qualify as a compelling

reason for compassionate release. See, e.g., United States v. Gutman, RDB-19-0069, 2020 WL

24674345, at *2 (D. Md. May 13, 2020) (finding defendant’s age of 56 years, multiple sclerosis,

and hypertension satisfied extraordinary and compelling reason); United States v. Coles, No. 00-

cr-20051, 2020 WL 1976296, at *7 (C.D. Ill. Apr. 24, 2020) (granting compassionate release to

defendant with hypertension, prediabetes, prostate issues, bladder issues, and a dental infection);

United States v. Zukerman, 451 F. Supp. 3d 329, 336 (S.D.N.Y. Apr. 2020) (defendant’s

diabetes, hypertension, obesity, and age satisfied extraordinary and compelling reason); United

States v. Rodriguez, 451 F. Supp. 3d 392, 401 (E.D. Pa. Apr. 2020) (finding defendant’s

hypertension and diabetes qualified as extraordinary and compelling reason).

          As noted, the government concedes that, under the CDC guidance, Brown’s diabetes

constitutes an “extraordinary and compelling reason.” ECF 214 at 8. In addition, given the

current number of cases at Ft. Dix, it cannot be disputed that the coronavirus has entered the

prison.     Accordingly, I am satisfied that Brown readily satisfies the “extraordinary and

compelling” prong of the § 3582 analysis. But, that determination does not end the inquiry.

          The Court must also consider whether, if released, Brown would pose a danger to the

community. See 18 U.S.C. § 3582(c)(1)(A)(ii). The government urges that conclusion, citing



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the seriousness of his offense and the defendant’s prior criminal history, which consists of

numerous prior convictions. ECF 214 at 10-12.

       Brown acknowledges the seriousness of the crime at issue here. ECF 210 at 8. But, he

argues that the offense did not involve weapons or allegations of violence. Id.

       As I see it, the sentencing factors under 18 U.S.C. § 3553(a) do not weigh in favor of

reducing Brown’s sentence at this time. The factors include: (1) the nature of the offense and the

defendant’s characteristics; (2) the need for the sentence to reflect the seriousness of the offense,

promote respect for the law, and provide just punishment; (3) the kinds of sentences available

and the applicable Guidelines range; (4) any pertinent Commission policy statements; (5) the

need to avoid unwarranted sentence disparities; and (6) the need to provide restitution to victims.

       Brown’s prior record is particularly relevant to the analysis. From 1984 to 2012,

defendant amassed numerous drug convictions and a handgun conviction. ECF 103, ¶¶ 28, 29,

31, 34, 35, 36, 37. For some of these convictions, Brown received lengthy sentences, but they

were mostly suspended. See, e.g., id. ¶¶ 32, 33, 34. For others, he received sentences ranging

from two to four years. See id. ¶¶ 29, 36, 37. But, in the Maryland penal system, a defendant is

eligible for parole, and generally does not serve the whole sentence. For other offenses, the

defendant received sentences under a year. See id. ¶¶ 30, 31. Defendant did receive one

particularly lengthy sentence; in 2002, for the offense of conspiracy to distribute heroin,

defendant was sentenced to 25 years’ incarceration, of which 15 years was suspended. Id. ¶ 35.

He served about five years of that sentence, and was then paroled. Id. Brown subsequently

violated his parole. Id. Yet, these numerous prosecutions and convictions, along with time in

prison, did not deter defendant from the commission of the offense that led to his federal

prosecution.



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       Moreover, the defendant’s sentence in this case is significantly below the Guidelines’

range. And, as noted, the defendant has only served about 28% of his sentence.

       Given the facts of the offense, coupled with the defendant’s prior criminal history and the

amount of time that defendant has served to date, the Court concludes that release under 18

U.S.C. § 3582(c)(1)(A) is not warranted at this time.

                                      V.     Conclusion

       For the forgoing reasons, I shall deny the Motion (ECF 208), without prejudice.

       An Order follows, consistent with this Memorandum Opinion.



Date: November 10, 2020                                            /s/
                                                    Ellen Lipton Hollander
                                                    United States District Judge




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